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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION


  MAGNOLIA ISLAND PLANTATION, L.L.C. § CIVIL ACTION NO: 5:18-cv-01526
  and BARBARA MARIE CAREY LOLLAR §
                                           §
             Plaintiffs                    §
                                           §
  VS.                                      § CHIEF JUDGE S. MAURICE HICKS, JR.
                                           §
  LUCKY FAMILY, L.L.C., W.A. LUCKY, III, §
  And BOSSIER PARISH SHERIFF JULIAN §
  C. WHITTINGTON, in his official capacity §
                                           § MAGISTRATE JUDGE KAREN HAYES
             Defendants                    §

           SHERIFF JULIAN WHITTINGTON’S MOTION FOR LEAVE TO FILE
          AMENDED AND CORRECTED MOTION FOR SUMMARY JUDGMENT

                NOW INTO COURT, through undersigned counsel, comes Defendant,

  BOSSIER PARISH SHERIFF JULIAN C. WHITTINGTON (“Whittington”), who files this

  Motion for Leave to File Amended and Corrected Motion for Summary Judgment,

  asserting as follows:

                                               1.

                Sheriff Whittington filed a Motion for Summary Judgment on December 23,

  2019 (Doc. 79).

                                               2.

                Counsel for Whittington noticed typographical errors in the last sentence of

  page 6 of 20 and the first sentence of page 7 of 20, as well as in the last sentence of page

  19 of 20.
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                                             3.

               Because an amendment was necessary to correct this oversight, counsel

  took the opportunity to also add exhibit labels to the front of each exhibit for ease of

  reference by the Court, and to file each document separately as previously requested by

  the clerk.

               WHEREFORE, Bossier Parish Sheriff Julian Whittington PRAYS that this

  Motion for Leave of Court be granted allowing Sheriff Whittington to file an Amended and

  Corrected Motion for Summary Judgment, previously submitted as Doc. 92.


                                          Respectfully submitted by:

                                          LANGLEY, PARKS & MAXWELL, LLC


                                          By:      S / Julianna P. Parks
                                                Glenn L. Langley, Bar Roll No. 8019
                                                Julianna P. Parks, Bar Roll No. 30658

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                                          Sheriff of Bossier Parish




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